SCHEDULE A
                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 DROPCASES, LTD.,
                          Plaintiff,
                  v.

 THE PARTNERSHIPS AND                                      Case No. [TBD]
 UNINCORPORATED ASSOCIATIONS                               JURY TRIAL DEMANDED
 IDENTIFIED ON SCHEDULE “A”

                          Defendants.



                            SCHEDULE A — SEALED DOCUMENT
        This document is being filed under seal with a motion for leave to file documents under

seal. A full version of Schedule A will be filed separately under seal and will remain under seal

until further order of this court.



Dated: March 26, 2024                        Respectfully submitted,

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